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CCS-77359 Wl\/l/KCH

UNITED STA'I`ES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN I)IVISI()N

BYRON WHITE,
16 CV 712()

Plaintiff,
Judge Sara L. Ellis

VS.

COQK C()UNTY, SUPERINTENDENT Tl~lOl\/IAS
COMMANDER TATE, SGT. l\/ICCOY,

Defendants.
DEFENDANTS’ RESPONSE T() PLAINTIFF’S MOTION F()R SANCTI()NS

NOW COl\/IE Defendants, Superintendent Thomas, Commander Tate and Sergeant
l\/lcCoy, (llereinalter, “Del`endants”), by and through their attorneys, William C. l\/Iartin and Kelly
l\/l. Cronin ofthe law firm Sanchcz l)aniels & Hot`l`man l,LP, and for their Response to Plaintit`Fs
l\/lotion for Sanctions, state as t`ollows:

l. On No\/cmber 22, 2017, Plaintil`l` filed a l\/lotion for Sanctions against the
Defendants for the delay in supplementing their answers to Plaintit`t`s First Set of Production of
Documents Request (hereinafter, “Plaintit`t`s First Request to Produce”).

2. Det`endants acknowledge that their Supplemental Rcsponses to Plaintil`l`S First
Request to Produce are outstanding

3. /\s this Court is likely aware, Sanchez, Daniels and Hoffman recently appeared in
this case Spccitically, Kelly l\/l. Cronin filed her appearance on October l3, 20l 7. As such, the
newly appeared counsel is working diligently to address the outstanding discovery and documents

4. On November 22, 2()l 7. Det`endants filed its l\/lotion to Clarify the Court Order of

Septcmher 6, 20l7 in an attempt to determine precisely which documents it is to produce On

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November 29, 2017, the Court denied Defendants’ motion to clarify and referred Defendants to
the irl-court transcript of September 6, 2017 (hereinafter, “The Transcript”).

5. On November 29, 2017, Defendants ordered The Transcript, again working to
resolve the outstanding discovery issues.

6. Defendants received The Transcript on December 5, 2017.

7. As Such, Defendant is currently working with several Cook County agents in an
effort to address the outstanding discovery.

8. Further, since filing her appearance, Counsel for Defendant worked diligently to
locate the Plaintiff in order to conduct a telephone conference regarding the outstanding discovery
(See Def`endants’ l\/lotion for Leave to Proceed with Deposition of an Incarcerated lndividual and
for Extension of Fact Discovery Deadline, filed on November 21, 2017).

9. ln that l\/lotion, Counscl for Defendant, in good faith, advised the court of the
difficulties of locating Plaintiff` and requested an extension of time so that fact discovery may be
completed

10. On November 21, 2017, Defcndants filed its l\/lotion for an extension of Fact
Discovery after reviewing Defendant"s l\/Iotion for Extension of Fact Discovery Deadline.

ll. On November 29, 2017, the Court extended fact discovery through .lanuary 30,
2018.

l2. As such, Defendants request that they be given until .lanuary 30, 2018 to produce

outstanding documents

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WHEREFORE, Defendants, Superintendent Thomas, Commander late and Sergeant

l\/lcCoy, respectfully request that this llonorable Court deny Plaintif`f"s Motion for Sanctions, and

granting all such further relief as the court deems appropriate

William C. l\/lartin (6272668)
Kelly l\/l. Cronin (6308813)
l<Cllarrison@Sanchezdh.com
Sanchez Daniels & Hoffman
333 W. Wacker Dr., Suite 500
Chicago, lllinois 60606

(312) 214-3043

Firm No: 42258

Respectf`ully submitted,

SUPERINTENDENT THOMAS
COl\/ll\/IANDER TATE, SG'f. l\/lCCOY

By: j/;//%da /‘/MM

dne rif 'l`heir Attorneys

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CERTIFICATE OF SERVICE

TO: East Moline Correctional Center
Attn: Legal l\/Iail
c/o Byron White (B53533)
100 Hillcrest Road
East l\/foline, lllinois 61224

l, Kelly l\/l. Cronin, certify that 1 served the above Defendants’ Response to Plaintiff`s l\/lotion for
Sanctions by causing to be mailed a copy to the above named person at the above address by
United States Mail at 333 West Wacker Drive, Chicago, lllinois 60602, postage prepaid, before
5:00 p.m., on l.:`f t/ti“tc‘ iz?§§ §i_ 2017.

     

/s/ Kelly l\/I. Cronin
Kelly l\/I. Cronin

